          Case 1:17-cr-00201-ABJ Document 56 Filed 11/21/17 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
RICHARD W. GATES III,                           )            Crim. No. 17-201-2 (ABJ)
                                                )
               Defendant.                       )


           NOTICE OF DEFENDANT’S INTENT TO WAIVE APPEARANCE

       Defendant Richard W. Gates III hereby respectfully submits notice of his intent to waive

his right to be present at the status hearing that is scheduled for today, November 21, 2017,

pursuant to Federal Rule of Criminal Procedure 43. Counsel has fully discussed this waiver with

Mr. Gates and Mr. Gates makes this waiver knowingly and intentionally.

                                             Respectfully submitted,


                                             _/s/Shanlon Wu_______________
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